l Case 1:04-cv-01327-.]DT-STA Document 14 Filed 07/13/05 Page lof7 Page|D 20

UNITED sTATEs DISTRICT CoURT F ' L § D BY
WESTERN DISTRICT oF TENNESSEE %`“O`
EASTERN DI\/isIoN JUL 1 3 2005

Thomas M. Gouid, Clen<

UNITED srArEs oF AMERI_CA wi‘s.$a“§‘-‘+‘E?’_,?'.;.¢‘i';n
upon the relation and
for the use of the
TENNESSEE VALLEY AUTHORITY
Plaintiff

V. No. 1-04-1327-T/AN

AN EASEMENT AND RlGHT-OF-
WAY OVER 0.45 ACRE OF LAND,
MORE OR LESS, lN HARDIN
COUNTY, TENNESSEE

WAYNE PLUNKETT

LEON EASLEY

HARDIN COUNTY BANK OF
SAVANNAH, TENNESSEE

EDDIE K. WHITLOW, trustee

Defendants

 

 

JUDGMENT

 

This action came on to be considered, and it appears to the Court from
the Scheduling Order entered herein (at 2) that Eddie K. Whitlow, who Was named
a party herein as trustee for Defendant Hardin County Bank of Savannah,
Tennessee (the Bank), is deceased and that the Bank has decline to participate on
the issue of just compensation and has agreed that all of the proceeds of this action

can be disbursed to the Defendant~landowners; and it further appears to the Court,

`:“his document entered on the docket sheet in compiiance l

with me 53 and;or 79 (a) FRCP on _£E;QE`

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as shown by the signatures belovv, that Plaintiff and the Defendant-landowners
have agreed to resolve this action as hereinafter provided

lt is, therefore, Ordered and Adjudged that:

l. Defendants Wayne Plunkett and Leon Easley shall recover of Plaintiff
$10,150 as full compensation for the taking of the easement and right-of-Way herein
condemned, Which amount has been deposited by Plaintiff With the registry of this
Court in this action.

2. The vesting of title in the United States of America, free of all
liens, claims, and encumbrances, as evidenced by the Declaration of Taking
filed herein on December 13, 2004, is hereby fully and finally confirmed with
respect to the easement and right-of-way described in Exhibit A attached hereto
and made a part hereof (said description being the same as in Exhibit A
attached to the Complaint and Declaration of Taking filed herein).

3. The Clerk of this Court is authorized and directed to draw a check
on the funds on deposit in the registry of this Court in the amount of $lO, l 50
payable to Wayne Plunkett and Leon Easley, in full satisfaction of this
Judgment, and to mail said check to Kate E. Rhodes, Esq., Rainey, Kizer,

Reviere & Bell, PLC, P.O. Box ll47, Jackson, Tennessee 38302-1147.

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4. The Clerk of this Court shall furnish to Plaintiff a certified copy of

this Judgment Which shall serve as a muniment of title.

ring 1245 day er Q/a,£v()/ ,2005.

lian states Districi iade

We hereby approve and consent
to the entry of this Judgment:

Edwm~ W. <g/ma»££,
Edvvin W. Small

Assistant General Counsel
Tennessee Valley Authority

400 West Sumrnit Hill Drive
Knoxville, Tennessee 37902-1401
Tennessee BPR No. 012347
Telephone 865»632-3021
Facsimjle 865-632-6718

Att mey for Plaintiff

Qt¢¢ Q- /ZCLOM\

Kate E. Rhodes

Rainey, Kizer, Reviere & Bell, PLC
209 East Main Street

P.O. Box 1147

Jackson, Tennessee 38302-1147
Tennessee BPR No. 022252
Telephone 731 -423*24]4

Facsimile 731-426-8156

Attorney for Defendants
Wayne Plunkett and Leon Easley

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TRACT NO. PSTES-3

A permanent easement and right-of-way, consisting of the perpetual right to enter
and to erect, maintain, repair, rebuild, operate, and patrol lines of transmission line
structures with wires and cables for electric power circuits and communication
circuits, and all necessary appurtenances, in, on, over, and across said right-of-way,
together with the right to clear said right-of-way and keep the same clear of all
trees, brush, buildings, signboards, billboards, and fire hazards, to destroy or
otherwise dispose of such trees and brush, and to remove, destroy, or otherwise
dispose of any trees located beyond the limits of said right-of-way which in falling
could come within five feet of any transmission line structure or conductor located
thereon, the Plaintiff to remain liable for any direct physical damage to the land,
annual crops, fences, and roads resulting directly from the operations of the
construction and maintenance forces of Plaintiff in and about the erection and

maintenance thereof, all upon, under, over, and across the following-described
land:

TRACT NO. PSTES-3

A parcel of land located in the Fourth Civil District of Hardin County, State of
Tennessee, as shown on a map entitled “Pickwick-Savannah (East) Transrnission
Line Tap to East Savannah,” drawing LW-5386, sheet 6B, R.l, the portion of said
map which shows said parcel of land being attached to the Declaration of Taking
filed herein, the said parcel being more particularly described as follows:

Beginning at a point where the centerline of the said location crosses the south
property line of the land of Wayne Plunkett, et al., and the north property line of
the land of Hardin County, Tennessee, at survey station 119 + 30.90, said point
being S. 870 26' 27" E., 256.53 feet from an iron pin property corner common
between the lands of Wayne Plunkett, et al., Hardin County, Tennessee, and
Savannah Elk’s Lodge #2756, lnc., said iron pin property corner being 47.95 feet
left of survey station 116 + 78.92; thence leaving said point and with the said
property line N. 870 26' 27" W., 256.53 feet to a point, said point being said iron
pin property corner; thence leaving said point and with the west property line of
the land of Wayne Plunkett, et al., and the east property line of the land of
Savannah Elk’s Lodge #2756, Inc., N. 30 37' 23" E., 2.09 feet to a point, said point
being in the north right-of-way line of the said location; thence leaving said point
and with the said right-of-way line N. 810 47' l()" E., 13.41 feet to a point; thence
leaving said point and continuing with said right-of-way line S. 00 27' 13" W.,
2.32 feet to a point; thence leaving said point and continuing with said right-of-
way line S. 890 05' 25" E., 43.22 feet to a point; thence leaving said point and

EXHIBIT A
PAGE 1 OF 2 PAGES

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TRACT NO. PSTES-3

continuing with said right-of-way line N. 00 27' 13" E., 9.25 feet to a point; thence
leaving said point and continuing with said right-of-way line N. 810 47' l()" E
379.95 feet to a point, said point being in the east property line of the land of
Wayne Plunkett, et al., and in the west right-of-way line of the land of the State of
Tennessee (Highway 69); thence leaving said point and with the said property line
and said highway right-of-way line S. 210 44' 33" E., 51.43 feet to a point, said
point being on the centerline of the said location at survey station 121 + 28.50, said
point being N. 210 44' 33" W., 40.51 feet from a property corner common between
the lands of Wayne Plunkett, et al., the State of Tennessee (Highway 69), and
Hardin County, Tennessee, said property corner being 39.39 feet right of survey
station 121 + 37.93; thence leaving said point and continuing with said property
line and said highway right-of-way line S. 210 44' 33" E., 40.51 feet to a point, said
point being said property corner; thence leaving said point and with the south
property line of the land of Wayne Plunkett, et al., and the north property line of
the land of Hardin County, Tennessee N. 870 26' 27" W., 210.72 feet to the point
of beginning and containing 0.45 acre, more or less.

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Recording Inforrnation: Defendants/landowners as of the date of the filing of
the Declaration of Taking _- Wayne Plunkett and Leon Easley as equal tenants
in common (Deed Book 143, pages 181 and 527) _ tax map 90, parcel 63.

EXHIBIT A
PAGE 2 OF 2 PAGES

Recei t: _
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leassandra IJ28600 [07/1 3/2005

United States District Court

Western District of Tennessee

  

 

Western Division-Memphis Eastern Division-Jackson
167 N. Main, Roorn 242 Room 262l 111 South Avenue
Nlemphis, TN 38103 Jaci<son, TN 38301
(901) 495 - 1200 (731) 421-9200
Recelved From: Cash;

T\/A, KNOXV|L£_E, TN UN|TES STATES Check: $4,450.00 Checi< Number' 4912-9773
' Credit:

KNOX\/|LLE,TN 37901 Tota| Amount 34,45000

Tota| Amount Paid: $4`450.00
Change: $.00

Receipt Deta`lls

1 Registry Amountowed: $4'450_00
Case Number 011-1327

 

total Lines: 1 TOta! Amount: $4,450_00

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Page 1 cf 1

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:04-CV-01327 was distributed by faX, mail, or direct printing on
.1 uly 13, 2005 to the parties listed

EssEE

 

Bradford D. Box

RAINEY KIZER REVIERE & BELL
209 E. l\/lain Street

.lackson7 TN 38302--114

Edvvin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Philip .l Pfeifer

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Honorable .l ames Todd
US DISTRICT COURT

